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Via ECF

Honorable Paul G. Gardephe
United States District Judge
Thurgood Marshall U.S. Courthouse
40 Foley Square

New York, NY 10007

Re: United States vy. Michael Avenatti, No. 19-cr-373 (PGG)
Request to File Rule 17(c) Requests by Sept. 6, 2019

Dear Judge Gardephe:

I am co-counsel for defendant Michael Avenatti. This morning, the Court granted
undersigned counsel’s request to file requests for subpoenas duces tecum pursuant to
Fed.R.Crim.P. 17(c) by Tuesday, September 3, 2019. (Dkt. 43). I have a conference call
scheduled with government counsel this afternoon in an effort to reach agreement on matters
related to the subpoenas (namely, redactions of any exhibits).

Given that Hurricane Dorian now appears to be bearing down on South Florida and is
scheduled to make landfall on Monday or Tuesday, it is likely that I will be evacuating my
family from South Florida this weekend and my office will be closed on Tuesday, September
3. Thus, while I still hope to file the requests by Tuesday, in an abundance of caution, I am
requesting permission from the Court to file the requests on or before Friday, September 6,
2019. Government counsel have advised that they have no objection.

Thank you for your consideration.

Respectfully,

NAAM A

Scott A. Srebnick

cc: Counsel of Record (via ECF)
